                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF IOWA

 TRACEY K. KUEHL, an individual;          )
 LISAK. KUEHL, an individual;             )   Case No. C14-2034-LRR
 KRISS A. BELL, an individual;            )
 JOHN T. BRAUMANN, an individual,        .)
 and; ANIMAL LEGAL DEFENSE                )
 FUND, a non-profit corporation,          )
                                          )   DEFENDANT CRICKET HOLLOW
                                                     '
                Plaintiffs,               )   ZOO'S ANSWERS TO PLAINTIFFS'
                                          )   INTERROGATORIES
        vs.                               )
                                          )
 PAMELA SELLNER, an individual;           )
 TOM SELLNER, an individual; and          )
 CRICKET HOLLOW ZOO, a                    )
 non-profit corporation,                  )
                                          )
               Defendants.                )
                                          )



       COMES NOW the Defendant, Cricket Hollow Zoo, and hereby answers

Plaintiffs' Interrogatories.

                                         Respectfully submitted,




                                         L;r,r#
                                             j
                                                J. Thorson                  #AT0007976
                                         ACKLEY KOPECKY & KINGERY, L.L.P.
                                         4056 Glass Road, NE
                                         Cedar Rapids, IA 52402
                                         Ph: (319) 393-9090 Fax: (319) 393-9012
                                         Email: lthorson®akklaw .com

                                         Attorney for Defendants



                                                                                         Ex. 3-0267
       I, Pamela Sellner, Director of Cricket Hollow Zoo, a non-profit corporation,

hereby certify under penalty of perjury and pursuant to the laws of the State of Iowa,

that the information contained herein is true and correct to the best of my knowledge

and belief.




                                                                                         Ex. 3-0268
                               CERTIFICATE OF SERVICE

      I, Theresa Trenary, of Ackley, Kopecky & Kingery, L.L.P., 4056 Glass Road NE,
Cedar Rapids, Iowa 52402, certify:

       That I am, and at all times hereinafter mentioned was, more than 18 years of age.

                        -!h          1: .
       That on the .J 5 day of _eir1AAM             , 2015, I served the original of the
foregoing instrument, to which this Certificate6is attached, either via electronic filing or
by U.S. Postage prepaid mail, to the parties or the attorneys of record shown below, as
follows:

       Original to: Jessica Blome
                    Animal Legal Defense Fund
                    170 E. Cotati Avenue
                    Cotati, CA 94931
                    jblome®aldf.org

       Copy to:      Daniel J. Anderson
                     Wertz &Dake
                     1500 Center St. NE #101
                     Cedar Rapids, IA 52402-5500
                     danderson®wertzlaw .com




I certify under penalty of perjury that the foregoing is true and correct.


Executed on
                                                         (Signature)




                                                                                               Ex. 3-0269
                                INTERROGATORIES

       1.     Beginning on January 1, 2005, and continuing to the date you complete
your response to this Interrogatory, please identify the endangered species that have
been acquired by CHZ or that have resided or currently reside at CHZ. Provide the
common name, species, age, gender, and a general description for each animal at the
time of acquisition.

ANSWER:

Rajah           Tiger    Appx. 10 years       M   Orange
Natasha         Tiger    6months              F   Orange
Miraj           Tiger    born here            F   Orange
Sheba           Tiger    Appx. 6 years        F   Orange
Sherkhan        Tiger    Appx. 10 years       M   Orange
Keirhan         Tiger    born here            F   Orange
Rajahn          Tiger    born here            M   Orange
Rauol           Tiger    born here            M   Orange
Caspar          Tiger    Appx. 10 years       M   White
Luna            Tiger    Appx. 11 years       F   Orange
Sascha          Tiger    5 years              F   White


6 tiger cubs born here     Orange

Ringtaillemur       Tootsie      Appx. years         F
                    Cheech       Appx. years         M
                    Maddy        born here           F
                    Gaz          born here           M
                    Baby         born here           F
                    Baby         born here           M
                    Chuki        9years              F

Kondo        9 years       M
Zaboo        6months       M

Red Ruff Lemur      Lucy 9 years          F




                                                                                        Ex. 3-0270
       2.      Beginning on January 1, 2005, and continuing to the date you complete
your response to this Interrogatory, please identify the names, locations, and USDA
license numbers-where applicable-for the persons who supplied the animals
identified in your response to Interrogatory No. 1.

ANSWER:

Bob Strange                     Mt. Ayr, Iowa              42-B-0061

Brown's Oakridge Zoo            Smithfield, illinois       33-C-0007

Animal Haven Zoo                Weyauwega, Wisconsin       35-B-0104

Craig Perry                     Center Point, Iowa         42-C-0101

Oelson Park Zoo                 Fort Dodge, Iowa           42-C-0128




                                                                                       Ex. 3-0271
       3. If any of the animals identified in Interrogatory No. 1 are no longer in the
possession of Defendant or no longer reside at CHZ, please identify the method of
final disposition of the animals, including the date of disposition; the name, location,
and USDA license number-where applicable-of the person(s) who took possession
of the animals; if the animals were sold, the amount of money exchanged in
consideration for the animals; the manner in which the animals were transported to
their subsequent owner(s); and, if deceased, the cause of death and method of
disposal of the animals.

ANSWER:

The only endangered species are as follows:

 Rajah         Tiger      Died old age                Appx.2005         Buried
 Sheba         Tiger      Died old age                2012              Buried
 Sherkhan      Tiger      Died old age                2-28-2014         Buried
 Rauol         Tiger      Died q_uick pneumonia       6-1-2013          Buried
 Casper        Tiger      Died - pneumonia            11-2014           Buried
 Luna          Tiger      Died e-coli                 2014              Buried
 Cubs          Tigers     Donated to other facilities- records not available (records
                          were made available to USDA & are not required to be
                          maintained over 1 year
Tootsie        Ringtailed Died old age                11-2009           Buried
               Lemur
Cheech         Lemur      Died old age                Appx. 2010        Buried
Maddy          Lemur      Died - encephalitis;        2006              Left at Ames
                          necropsy done at Ames,                        after necropsy
                          Iowa
Gaz            Lemur      Died - encephalitis;        2006              Left at Ames
                          necropsy done at Ames,                        after necropsy
                          Iowa
Kondo          Lemur      Died- unknown               7-2011            Buried
Baby           Lemur      Sold -Barry DeVol           Appx. $1,000      Sold-
                                                                        transported by
                                                                        buyer - 42-C-

Baby           Lemur       Sold - Oelson Park         Appx. $1,000      Sold-
                                                                        transported by
                                                                        buyer - 42cC-
                                                                        0128



                                                                                           Ex. 3-0272
Older records not available


       4.    Beginning on January 1, 2005, and continuing to the date you complete
your response to this Interrogatory, please identify the names, job responsibilities, and
weekly hours worked for any volunteers who work for CHZ without payment.

ANSWER:

 Jason Neverman         rabbits, chickens, dogs feed & care         6 hours/week

 Trish LeClere          general cleaning & gardening                4 hours/week

 Services Unlimited     small animal cleaning, feeding, watering,   l 1h hours week x
                        sweeping, misc.                             5-8 volunteers

 Mormon Church          cleaning, feeding, sorting, hoofstock,      3-4 hours/week x
 Elders                 misc. window cleaning, yard work,           3 people
                        mowing

 Kyle Cook              cleaning & working with exotic cats         5-20 hours/week


 Ted Manson            Works with reptiles, reptile days            16 hours/week
                       program, wolf hybrids/programs

 Erin Pinote           Vet intern- wormed various animals,          30 hours/week
                       cleaned, fed, did educational
                       presentations

No records kept on volunteer personnel. This information is from memory so not all
volunteers over time are listed.




                                                                                            Ex. 3-0273
       5.     Beginning on January 1, 2005, and continuing to the date you complete
your response to this Interrogatory, please identifY the names, position titles, job
responsibilities, weekly hours worked, and annual compensation for all persons
employed by CHZ, including full-time employees, part-time employees, independent
contractors, consultants, attending veterinarians, and any other person(s) employed
by CHZ to assist in the management or maintenance of CHZ.

ANSWER:

Dr. John Pries, DVM, Elkader Vet Clinic. Main vet currently used at Cricket Hollow Zoo.
Comes annually for walk through and various times over court of year for any health
issues that develop. $300 typically.

Dr. Gary Pusillo, DVM. Nutritionist for exotic felines, use his supplements and products.
Donated time.

Dr. Kevin Esch, DVM, Elkader Vet Clinic. Main vet 2005-2009

Dr. Don Cook, DVM and Dr. Art Dunham, DVM. Vets that do our farm work and do
help with farm type animals at zoo on occasion. On call for emergencies and health
checks. $200+/yr total.

Pete Knipper, hoofstock nutritionist - as part of our farm - samples and makes rations
with forages we use.

Joe Andreas, hoof trimmer, sheep shearer. 1 day annually. Approximately $200.

Dr. Mary Chris O'Brien, DVM- doesn't take care of exotics, just small pet-type animals as
needed.

Marian Yoder, hoof trimmer-equines. 1-2 days annually. $100.




                                                                                            Ex. 3-0274
       6.     Identify the relevant education, learned or acquired skills, training,
continuing education or training, and/or any other qualifications related to the care
of endangered species as well as the management of zoos generally for each person
identified in Interrogatory Nos. 4 and 5, as well as for CHZ's principals, Pamela
Sellner and Tom Sellner.

ANSWER:

Pamela Sellner - 23 years experience with exotic animals. 50+ years experience with farm
type animals. Certified in exotic cat husbandry with Feline Conservation Federation
(FCF). Have advanced handler certification from FCF. Worked with veterinarians and
nutritionists. Know about large felid nutrition from Laurie Gage, DVM- USDA large
felid specialist. Had been a member of the Simian Society for over 20 years, getting
primate handbook, healthcare, enrichment and other information from group. Keep up-
to-date by mentoring with breeders and private zoos, reading and using internet
informational sites.

Tom Sellner- 20 years hands on experience. FCF general member. Studies caging ideas.
Has built all of zoo's cages and housing.

Veterinarians- vet school graduates who operate practices. Have done interning with
exotics and have access to information such as blood profiles, etc. from zoos.

Joe Andreas- many years of hands-on work shearing sheep and llamas. Professional
hoof trimmer and sheep shearer.

Volunteers - do not care for any of our endangered species or primates and large
carnivores with the exception of Kyle Cook over five years ago.




                                                                                           Ex. 3-0275
       7.     Identi:cy the person or persons who, on behalf of CHZ, is/are ultimately
responsible for the day·to·day operation of CHZ and makes decisions on behalf of CHZ
that relate to the technical, managerial, and financial well·being of the corporation
and describe the process by which day·to·day decisions are made by the person(s) on
behalf of CHZ.

ANSWER:

Pamela Sellner. I set up programs for feeding and healthcare with my veterinarian and
nutritionist. I do the day-to-day work and management. I am responsible for the exhibits
and do all the book work for USDA, IA DNR and all finances. I do any training and
acceptance of our volunteers. I am also in charge of overseeing the garden areas and all
of our advertising. I keep all the maintenance logs, primate enrichment calendars and
other USDA paperwork. I also do the procurement of all animals.




                                                                                           Ex. 3-0276
        8.     Describe the daily animal care program for each of the animals at
CHZ, including each of the endangered animals held there, including but not
limited to information about individualized feeding procedures; individualized
watering procedures; individualized grooming procedures; the individualized
provision of exercise or enrichment; the cleaning of individual enclosures; and
procedures for protecting animals from inclement or changing weather patterns,
including summer rainstorms, winter snowstorms, extreme heat in summer
months, and freezing temperatures during winter months. If animals are
transported off-site as part ofthese procedures, please identify the location where
the animals are shipped, the name of the person who takes custody of the animal,
and describe procedures used to ensure compliance with state and federal law at the
off-site location.

ANSWER:

Hoofstock - free choice baleage or hay, automatic waterers in summer, hand watered in
below freezing temps. Salt and mineral free choice sheep are sheared in spring, llamas
barrel clipped and hooves trimmed in spring by trimmers and shearer. All hoofstock are
on dry lots that are scraped completely each month or as needed. All animals have
shelters, heavily bedded in winter months. Animals are acclimated to this climate. Some
farm animals are moved to our dairy farm for winter care and buildings and some
pasture, off season.

Cats- fed raw meat only (obligate carnivores) whole prey is offered for enrichment and
nutrition as allowed by our veterinarian. Beef, poultry and deer are fed. Cats all have
automatic waterers to drink, tigers have pools to play and cool in in warm months.
Tigers have bowling balls, tires or large plastic drums to play with and scratching logs in
pens. Cats are on pea gravel that is raked daily in summer months and every other day
otherwise. Cats have shade cloth over part of their outdoor area. All cats have dens with
guillotine doors to keep warm in winter and open wire backs for air movement in
summer. Only serval is kept heated in cold months indoors. Other cats are acclimated to
outdoor temps. All cats are supplemented with Oasis Felidae Tand Primal Cal.

Primates - all primates are fed a balanced diet that includes primate biscuits, fresh
produce and water from sippers. All primates have a veterinary approved enrichment
plan. In warm months all primates have access to outdoor yards/exhibit area. All indoor
pens are bedded with deep straw/grass hay and cleared as needed. Cages are sanitized
bi-weekly as required by USDA. Most animals are housed with companions. The several
that are housed individually get extra enrichment- mirrors, special toys PVC feeder
tubes, etc. All primates are kept heated indoor during cold months. They have large




                                                                                              Ex. 3-0277
windows in the primate building for sunshine and viewing. They get a variety of
climbing shelves and other enrichment items.

Small mammals - fed nutritious feed matched to their species. Most drink from sippers
to keep them from playing in and soiling water bowls. Grooming is according to species;
dust baths, etc. Most have branches, toys, friends to exercise and have fun with. Our
small mammals are either housed completely indoors with fans and/or heat depending
on weather. Several have indoor/outdoor runs in good weather.

Reptiles- fed according to individual needs (carnivore, omnivore, herbivore). Water in
dishes and soaking bowls. Have heat sources to warm or cool themselves as they see fit.
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Birds- fed predominately seed diet, according to species. We buy three different diets
for warm room birds. Also fresh produce. Water in cages. Branches, toys, cage mates for   I'
enrichment. Many by windows to visit with guests at the zoo. All cages are indoors        I'
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(climate controlled).                                                                     I
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                                                                                               Ex. 3-0278
       9.    Beginning on January 1, 2005, and continuing to the date you complete
your response to this Interrogatory, please identifY every veterinarian, other animal
health care practitioner, veterinary hospital, animal health care facility, animal
behaviorist, or other person or entity that has examined, evaluated, treated, or
otherwise provided health or welfare-related services of any kind to the endangered
animals at CHZ.

ANSWER:

Dr. Jolm Pries
Elkader Veterinary Clinic- general health

Dr. Kevin Esch
Elkader Veterinary Clinic- general health

Dr. Gary Pusillo- nutrition




                                                                                        Ex. 3-0279
       10.    Describe the specific plan of veterinary care that CHZ maintains for
each of its endangered animals, including but not limited to how often a
veterinarian inspects such animals, a schedule for veterinary exams, inoculations,
or other procedures, any protocol CHZ maintains for veterinary emergencies, and
any veterinary supplies maintained on site at CHZ.

ANSWER:

We have a USDA plan of veterinary care in place. We have at least one annual walk-
through visit for all animals. Any exams or emergencies as needed. Vet will come out to
zoo to do exams. Smaller, handable animals can be taken to clinic as needed.

Syringes, wormers, antibiotics, vet wrap and miscellaneous supplies are kept on hand.
Some vaccines are kept as needed.




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       11.   Beginning on January 1, 2005, and continuing to the date you complete
your response to this Interrogatory, please identizy the amount of revenue CHZ
generates in an average year, including by listing separately the amount of revenue
derived from zoo admission fees, the amount of revenue derived from private
donations, the amount of revenue derived from grants or foundations, the amount of
revenue derived from government sources, and any amount Defendants Pamela
Sellner and Tom Sellner personally contribute to the zoo.

ANSWER:

              Admissions     Donations, Mobile Zoos,     Personal Contributions
                             Feed&      Sales
2005          $9,508                                     By Pam & Tom Sellner
                                                         All hay and forages for
                                                         hoofstock, LP for
                                                         furnaces, electricity, labor
2006          $11,639
2007          $12,236
2008          $12,862        $4,968
2009          $15,975        $4,066
2010          $15,364        $2,638                                                      I
2011          $12,966        $4,329
2012
2013
              $12,945
              $11,619
                             $5,438
                             $8,428
                                                                                        i
2014
Admission
              $10,081        $4,193.25
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increase $1
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       12.    Beginning on January 1, 2005, and continuing to the date you complete
your response to this Interrogatory, please identify the total annual operating budget
and the total annual operating costs (as distinct from budget) for CHZ, including by
listing separately the cost of animal acquisition, the cost of animal feed, the cost of
veterinary care (including both veterinary supplies and veterinary fees), the cost of
staff salaries and wages, and any fees or taxes to local, state, or federal entities.

ANSWER:

No budget available. Expenses by years attached (previous seven yeats records).




                                                                                          Ex. 3-0282
